






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-10-00476-CV






Marie Carney Hossfeld, Appellant


v.


Brian Dean Sunshine, Appellee






FROM THE DISTRICT COURT OF BELL COUNTY, 146TH JUDICIAL DISTRICT

NO. 189,783-D, HONORABLE RICK MORRIS, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


	Appellant, representing herself pro se, filed her notice of appeal on June 25, 2010,
and the clerk's record was filed July 29, 2010.  Appellant's brief was initially due October 20, and
on November 2, she filed a motion for extension of time, asking for a ninety-three day extension.  
 Appellee, also proceeding pro se, filed an objection to appellant's motion.  We granted appellant's
motion, making her brief due January 21, 2011.  On January 20, she filed a second motion for
extension of time, asking to have the deadline extended to April 21, and explaining that she was
attempting to prepare her brief and was attempting to hire an attorney.  Despite another objection
filed by appellee, on March 11, we issued an order granting appellant's second motion for extension
of time, making the brief due April 21, 2011.  In our order, we cautioned appellant that no further
extensions would be granted and that her failure to file a brief would result in the dismissal of her 
appeal for want of prosecution.  See Tex. R. App. P. 42.3. 

	On April 25, we received a notice of appearance and third motion for extension of
time, filed by an attorney on behalf of appellant.  The notice of appearance, which did not state when
the attorney was retained, lacked appellant's signature and could not be filed.  See id. R. 6.1(c).   A
new, compliant notice was filed on May 5, along with an amended motion for extension of time
asking to have the deadline extended to June 21.  Appellee has filed an objection to this motion,
noting that our March 11 order specifically cautioned that no further extensions would be granted. 
We agree with appellee.  Although we are quite liberal in granting extensions, our written order
specifying that no further extensions would be granted and explaining the consequences of a failure
to file must be given proper weight or our orders become meaningless.  We therefore deny
appellant's third motion for extension of time and dismiss the appeal for want of prosecution.  See
id. R. 42.3.


					__________________________________________

					David Puryear, Justice

Before Justices Puryear, Pemberton and Rose

Dismissed for Want of Prosecution

Filed:   June 30, 2011

				


